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IN THE UNITED sTATEs DIsTRICT COURT AUG 0 5 m
FOR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION T“°m“ M- Goud. cum
w'.'. SrBiwn-lm
. n. or-' m, m
ROBERT MULLINS PLAINTIFFS
vs. pocket No. 03-2621 Ma P f
ZAHRA UMLANI, BENCHMARK
REALTORS, LLC., AND
FICTIOUSLY NAMED
DEFENDANTS DEFENDANTS
and
JIMMY CLEMMER PLAINTIFFS
vs. Docket No. 03-2622 Ma P
ZAHRA UMLANI, BENCHMARK
RELATORS, LLC., AND
FICTIOUSLY NAMED
DEFENDANTS DEFENDANTS

 

CONSENT ORDER OF DISMISSAL

 

COME NOW the parties, as evidenced by the signatures of: Duncan Lee Lott, Attorney for
Plaintiffs, Robert Mullins and Jimmy Clemmer', William M. Jeter, Attorney for Berlchmark Realtors,
LLC; and J ames F. Kyle, Attorney for Defendant, Zahra Um]ani; and Would state to this Honorable
Court that all parties desire this matter to be dismissed with prejudice

PREMISES CONSIDERED, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

that this matter is dismissed With prejudice as to ali Defenda.nts.

This docc_ment entered on the docket sheet co iance
with sale 55 answer ezrb) rach on ' ' Ug'

Case 2:03-cV-02621-SHI\/|-tmp Document 68 Filed 08/05/05 Page 2 of 3 Page|D 59

APPROVED BY:

B~WL- tm tr el

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Mullins and Clemmer

_ \/ \
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VICTORIA s. (#21673)

Attorneys for Defendant
Zahra Urnlani

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WILLIAM M JETER
Attomey for Defendant

Benchmark Realtors, LLC

 

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:03-CV-02621 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed

 

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Honorable Sarnuel Mays
US DISTRICT COURT

